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                                                  June 20, 2024

Mr. Mark Langer
Clerk of the Court
U.S. Court of Appeals for the
   District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse
333 Constitution Avenue N.W.
Washington, DC 20001

        Re:     Rule 28(j); Doc Society v. Blinken, No. 23-5232 (D.C. Cir.); Oral ar-
                gument scheduled for September 13, 2024

Dear Mr. Langer:

       The government writes regarding FDA v. Alliance for Hippocratic Medicine,
No. 23-235 (S. Ct. June 13, 2024), which held that plaintiff-doctors and medical
associations lacked Article III standing to challenge an agency’s decisions to alter
certain regulatory requirements. Applied here, Alliance forecloses plaintiffs’ princi-
pal theories for standing to challenge a social-media policy used in vetting visa ap-
plicants.

       First, Alliance stated that it is “incorrect” to interpret Havens Realty Corp. v.
Coleman, 455 U.S. 363 (1982), as holding that “standing exists when an organiza-
tion diverts its resources in response to a defendant’s action.” Slip op. 22. Contra
Reply 4–5. Havens “does not support such an expansive theory of standing.” Slip
op. 22. Rather, Havens “was an unusual case” limited to its “context”—there, the
defendant had given the plaintiff-organization “false information” that “directly af-
fected and interfered with” its “core business activities,” such that the organization
was akin “to a retailer who sues a manufacturer for selling defective goods to the
retailer.” Id. at 23. Here, plaintiffs cannot rely on Havens or its progeny: They suffer
no such direct injury and challenge the “‘regulation … of someone else.’” Id. at 10.
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       Second, Alliance disallowed the “informational injury” theory that the district
court adopted, JA342–345, and that plaintiffs repeat, Reply 4–5. The Supreme Court
emphasized that parties cannot establish “informational injury” when, as here, no
“federal law requires [the government] to disseminate such information.” Slip op.
23.

       Finally, Alliance cautioned against theories that allow standing “whenever
[plaintiffs] believe that the government is acting contrary to the Constitution or other
federal law.” Slip op. at 9. Plaintiffs here present (Reply 4–6, 9–14) a limitless theory
that would allow litigation whenever a federal policy might affect what third parties
post online, or might affect whether some unspecified individual decides to apply
for a benefit that, if granted, might prompt them to attend an unspecified event that
might occur. That logic would not end until virtually anyone “had standing to chal-
lenge virtually every government action that they do not like”—an approach “flatly
inconsistent with Article III.” Slip. op. 20.

                                         Respectfully submitted,

                                         /s/ Nicholas S. Crown
                                         Nicholas S. Crown


cc:   Appellants (via CM/ECF)




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